                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                    CIVIL ACTION NO. 5:17-CV-00218-FDW-DSC


 DELINDA GAYE BOWLES,                             )
                                                  )
                    Plaintiff,                    )
                                                  )
 v.                                               )
                                                  )
 SHELLPOINT PARTNERS LLC, et. al.,                )
                                                  )
                 Defendants.                      )



       THIS MATTER is before the Court on the “Motion to Extend Time to Respond [to Motion

for Summary Judgment]” (document # 23) filed November 13, 2018. For the reasons set forth

therein, the Motion will be granted

       Defendant is advised that this deadline will not be extended again. Defense counsel is

directed to the Honorable Frank D. Whitney’s “Standing Order Governing Civil Case Management

before the Honorable Frank D. Whitney” (document #2, 3:07MC47) and the “Initial Scheduling

Order” at 3.b.vi. (“Any motion to extend the foregoing time and/or word limitations shall be filed

immediately upon counsel learning of the need for the same and in any event no fewer than three

(3) business days in advance of the filing deadline sought to be modified.”)

       The Clerk is directed to send copies of this Order to counsel of record and to the Honorable

Frank D. Whitney.

       SO ORDERED.

                                      Signed: November 13, 2018




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